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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

NORIS BABB,

           Plaintiff,

v.                                        Case No.: 8:14-cv-01732-VMC-TBM


ROBERT A. MCDONALD, SECRETARY,
DEPARTMENT OF VETERANS AFFAIRS,

           Defendant.
                                  /



                             MEDIATION REPORT

      In accordance with the Court’s mediation order, a mediation
conference was held on August 6, 2015.    Plaintiff and her trial
counsel, and AUSA Mr. Kenneth as Defendant’s representative and trial
counsel attended and participated.
      The parties have reached an impasse.
      Done August 6, 2015 in Tampa, Florida.
                                   Respectfully submitted,


                                   /s/ Peter J. Grilli
                                   Peter J. Grilli, Esq.
                                   Florida Bar No. 237851
                                   Mediator
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                                   Tampa, Florida 33609
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     I HEREBY CERTIFY that August 6, 2015 I electronically filed the
foregoing document with the United States District Court Electronic
Case Filing system, which will electronically send copies to counsel of
record.


                                         /s/ Peter J. Grilli
                                         Peter J. Grilli, Esq.
